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                        UNITED STATES OF DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                     MINUTES

CASE CAPTION:        Cindy Gamrat v. Keith Allard, et al.

Case No.      1:16-CV-1094
Date:         March 5, 2018
Time:         2:00 - 3:30 PM



APPEARANCES:


For Plaintiff: Tyler E. Osburn

For Defendants Michigan House of Representatives, McBroom, Bowlin, Cotter, Swartzle, and
Beydoun: Gary P. Gordon, Kyle M. Asher

For Defendant Saari: Cameron Evans

For Defendants Allard and Graham: Sarah Riley Howard, H. Rhett Pinsky




NATURE OF HEARING:

Oral argument on Defendants’ motions to dismiss. Motions taken under advisement.




Court Reporter: Glenda Trexler                           Courtroom Clerk: P. Henderson
